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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 0:21-CV-60859-RKA


  ABS HEALTHCARE SERVICES, LLC,
  HEALTH OPTION ONE, LLC and
  ONE STOP QUOTES, INC.

                Plaintiffs,
  vs.

  ANDREW SHADER, COREY SHADER,
  NATIONAL HEALTH SOLUTIONS, INC.,
  INFINIX MEDIA LLC, PRODIGY
  HEALTH GROUP LLC, ADAM
  BEEMAN, JOY STORMONT,
  ALLIANCE MARKETING CORPORATION,
  KRATOS INVESTMENTS LLC, HEALTH
  TEAM ONE LLC, RICHARD RYSCIK,
  SCOTT OFFUTT, BEEMAN’S FUTURE INC.,
  CS MARKETING LLC, and C SHADER
  INVESTMENTS LLC,

              Defendants.
  ______________________________________________/

                 STATUS UPDATE OF DEFENDANTS ANDREW SHADER,
                COREY SAHDER, NATIONAL HEALTH SOLUTIONS, INC.,
                    AND ALLIANCE MARKETING CORPORATION

         Defendants Andrew Shader, Corey Shader, National Health Solutions, Inc., and Alliance

  Marketing Corporation (the “Shader Defendants”) hereby provide the Court with a Status Update

  in accordance with the Court’s Order [ECF No. 51 at 2].

         The Shader Defendants met all deadlines imposed by the American Arbitration Association

  (“AAA”), including the deadlines to address consent to the AAA’s administration and to hold in

  abeyance the following matter: ABS Healthcare Services, LLC et al. v. Shader, et al., No. 01-21-

  0016-2388. As it currently stands, the Shader Defendants consented to the AAA’s administration


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  of that matter and to hold it in abeyance. On September 24, 2021, pursuant to the parties’

  agreement, the AAA held the matter in abeyance.

                                                 Respectfully submitted,


                                                 By: /s/ Benjamine Reid___________________
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                                                 Counsel for Respondents Andrew Shader, Corey
                                                 Shader, National Health Solutions, Inc., and
                                                 Alliance Marketing Corporation



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 28, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                               /s/ Benjamine Reid
                                               BENJAMINE REID




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